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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
  SILVIA MARTINEZ, on behalf of herself and all :
  others similarly situated,                                             :
                                                                         :   Case No.: 24-2333
                                 Plaintiffs,                             :
                                                                         : CLASS ACTION COMPLAINT
                                 v.                                      : AND DEMAND FOR JURY TRIAL
                                                                         :
  LA-Z-BOY INCORPORATED,                                                 :
                                                                         :
                                Defendant.                               :
                                                                         :
                                                                         :
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                                              INTRODUCTION
             1.       Plaintiff SILVIA MARTINEZ (“Plaintiff”) on behalf of herself and others

  similarly situated, asserts the following claims against Defendant LA-Z-BOY

  INCORPORATED (“Defendant”) as follows.

             2.       Plaintiff is a visually-impaired and legally blind person who requires

  screen-reading software to read website content using the computer. Plaintiff uses the terms

  “blind” or “visually-impaired” as Plaintiff’s central visual acuity with correction is less

  than or equal to 20/200.

             3.       Based on a 2020 U.S. Census Bureau report, approximately 8.1 million

  people in the United States are visually impaired 1, including 2.0 million who are blind.

  According a 2016 report published by the National Federation of the Blind, 2016 report,

  approximately 418,500 visually impaired persons live in the State of New York. 2




  1
      See United States Census Bureau Report.
  2
      See 2016 Report – National Federation for the Blind.


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         4.      Plaintiff brings this civil rights action against Defendant for the failure to

  design, construct, maintain, and operate Defendant’s website, www.la-z-boy.com (the

  “Website”), to be fully accessible to and independently usable by Plaintiff and other blind

  or visually-impaired people. Defendant’s denial of full and equal access to the Website,

  and therefore denial of the goods and services offered thereby, is a violation of Plaintiff’s

  rights under the Americans with Disabilities Act (“ADA”).

         5.      Congress provides a clear and national mandate for the elimination of

  discrimination against individuals with disabilities. Such discrimination includes barriers

  to full integration, independent living, and equal opportunity for persons with disabilities,

  including those barriers created by websites and other public accommodations that are

  inaccessible to blind and visually impaired persons. Similarly, New York City law requires

  places of public accommodation to ensure access to goods, services, and facilities by

  making reasonable accommodations for persons with disabilities.

         6.      Defendant’s website is not equally accessible to blind and visually impaired

  consumers; therefore, Defendant is in violation of the ADA. Plaintiff now seeks a

  permanent injunction to cause a change in Defendant’s corporate policies, practices, and

  procedures so that Defendant’s Website will become and remain accessible to blind and

  visually-impaired consumers.

                               JURISDICTION AND VENUE
         7.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

  § 1331 and 42 U.S.C. § 12182, as Plaintiff’s claims arise under Title III of the ADA, 42

  U.S.C. § 12182, et seq.




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            8.       This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

  Plaintiff’s New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

  (“NYCHRL”) claims.

            9.       Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

  Defendant conducts and continues to conduct a substantial and significant amount of

  business in this District, and a substantial portion of the conduct complained of herein

  occurred in this District because Plaintiff attempted to utilize, on a number of occasions,

  the subject Website within this Judicial District.

            10.      Defendant is subject to personal jurisdiction in this District. Defendant has

  been and is committing the acts or omissions alleged herein in the Eastern District of New

  York that caused injury and violated rights the ADA prescribes to Plaintiff and to other

  blind and other visually impaired-consumers. A substantial part of the acts and omissions

  giving rise to Plaintiff’s claims occurred in this District: on several separate occasions,

  Plaintiff has been denied the full use and enjoyment of the facilities, goods and services

  offered to the general public, on Defendant’s Website in Kings County. These access

  barriers that Plaintiff encountered have caused a denial of Plaintiff’s full and equal access

  multiple times in the past, and now deter Plaintiff on a regular basis from accessing the

  Defendant’s Website in the future.

            11.      The United States Department of Justice Civil Rights Division has recently

  issued that “the Department has consistently taken the position that the ADA’s

  requirements apply to all the goods, services, privileges, or activities offered by public

  accommodations, including those offered on the web.” 3



  3
      See Guidance on Web Accessibility and the ADA.


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         12.      This Court is empowered to issue a declaratory judgment under 28 U.S.C.

  §§ 2201 and 2202.

                                         THE PARTIES
         13.      Plaintiff SILVIA MARTINEZ, at all relevant times, is and was a resident

  of Kings County, New York.

         14.      Plaintiff is a blind, visually-impaired handicapped person and a member of

  a protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and the

  regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., and NYCHRL.

         15.      Upon information and belief, Defendant is, and at all relevant times was,

  doing business in this jurisdiction.

         16.      Defendant’s Website, and the goods and services offered thereupon, is a

  public accommodation within the definition of Title III of the ADA, 42 U.S.C. §

  12181(7)(j).

                                          STANDING

         17.      Plaintiff SILVIA MARTINEZ is a blind, visually-impaired handicapped

  person and a member of a protected class of individuals under the ADA, under 42 U.S.C.

  § 12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§ 36.101

  et seq., and NYCHRL.

         18.      Consumers such as the Plaintiff may purchase Defendant’s products and

  access other brand related content and services at the Website Defendant owns, operates,

  and controls.

         19.      In addition to researching and purchasing Defendant’s products and

  services, consumers may also use Defendant’s Website to sign up to receive product

  updates, product news, and receive special promotions not available elsewhere.


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         20.     Plaintiff was injured when Plaintiff attempted multiples times, most

  recently on March 21, 2024, to access Defendant’s Website from Plaintiff’s home in an

  effort to shop for Defendant’s products, but encountered barriers that denied the full and

  equal access to Defendant’s online goods, content, and services.

         21.     Specifically, Plaintiff wanted to purchase a chair (Maeve Chair).

         22.     Plaintiff wished to purchase this product because she was looking for a

  comfortable and modern chair made from high-quality materials, that would have a sturdy

  high back and would be a stylish addition to any room. Using the keywords in “Google,”

  she searched "home decor store near me" and discovered the Defendant`s website.

         23.     This Website holds themselves out as a leader in residential furniture

  production with a strong commitment to quality, craftsmanship, and integrity. Their

  collection includes upholstered recliners, sofas, stationary chairs, lift chairs, and sleeper

  sofas. The company has a wide reach, offering its furniture through retail outlets in the

  United States and Canada. Their offerings are expansive, catering to a range of customer

  needs for comfort and design in home furnishings. Therefore, Plaintiff desired to buy

  products from the Website.

         24.     Unfortunately, Plaintiff was unable to complete the purchase due the

  inaccessibility of Defendant’s Website.

         25.      Due to Defendant’s failure to build the Website in a manner that is

  compatible with screen access programs, Plaintiff was unable to understand and properly

  interact with the Website, and was thus denied the benefit of purchasing the chair (Maeve

  Chair), that Plaintiff wished to acquire from the Website.




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         26.       The law requires that the Defendant reasonably accommodate Plaintiff’s

  disabilities by removing these existing access barriers.

         27.       Plaintiff has been, and in absence of an injunction, will continue to be

  injured by Defendant’s failure to provide the online content and services in a manner that

  is compatible with screen-reader technology.

         28.       Defendant’s denial of full and equal access to and enjoyment of the goods,

  benefits, and services of the Website, has caused Plaintiff to suffer an injury in fact due to

  Plaintiff’s inability to purchase a chair (Maeve Chair), which is a concrete and

  particularized injury, and is a direct result of Defendant’s conduct.

         29.       Despite this direct harm and frustration, Plaintiff intends to attempt to

  access the Website in the future to purchase products and services the Website offers, and

  more specifically a chair (Maeve Chair), if remedied.

                                     NATURE OF ACTION
         30.       The Internet has become a significant source of information, a portal, and a

  tool for conducting business, doing everyday activities such as shopping, learning, banking,

  researching, as well as many other activities for sighted, blind, and visually-impaired

  persons alike.

         31.       In today’s tech-savvy world, blind and visually impaired people have the

  ability to access websites using keyboards in conjunction with screen access software that

  vocalizes the visual information found on a computer screen or displays the content on a

  refreshable Braille display. This technology is known as screen-reading software. Screen-

  reading software is currently the only method a blind or visually-impaired person may use

  to independently access the internet. Unless websites are designed to be read by screen-




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  reading software, blind and visually-impaired persons are unable to fully access websites,

  and the information, products, and goods contained thereon.

         32.     Blind and visually-impaired users of Windows operating system-enabled

  computers and devices have several screen-reading software programs available to them.

  Some of these programs are available for purchase and other programs are available

  without the user having to purchase the program separately. Job Access With Speech,

  otherwise known as “JAWS” is currently the most popular, separately purchased and

  downloaded screen-reading software program available for a Windows computer. Another

  popular screen-reading software program available for a Windows computer is NonVisual

  Desktop Access “NVDA”.

         33.     For screen-reading software to function, the information on a website must

  be capable of being rendered into text. If the website content is not capable of being

  rendered into text, the blind or visually-impaired user is unable to access the same content

  available to sighted users.

         34.     The international website standards organization, the World Wide Web

  Consortium, known throughout the world as W3C, has published version 2.1 of the Web

  Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established

  guidelines for making websites accessible to blind and visually-impaired people. These

  guidelines are universally followed by most large business entities and government

  agencies to ensure websites are accessible.

         35.     Non-compliant websites pose common access barriers to blind and visually-

  impaired persons. Common barriers encountered by blind and visually impaired persons

  include, but are not limited to, the following:




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             a.      A text equivalent for every non-text element is not provided;

             b.      Title frames with text are not provided for identification and

             navigation;

             c.      Equivalent text is not provided when using scripts;

             d.      Forms with the same information and functionality as for sighted

             persons are not provided;

             e.      Information about the meaning and structure of content is not

             conveyed by more than the visual presentation of content;

             f.      Text cannot be resized without assistive technology up to 200%

             without losing content or functionality;

             g.      If the content enforces a time limit, the user is not able to extend,

             adjust or disable it;

             h.      Web pages do not have titles that describe the topic or purpose;

             i.      The purpose of each link cannot be determined from the link text

             alone or from the link text and the programmatically determined link

             context;

             j.      One or more keyboard operable user interface lacks a mode of

             operation where the keyboard focus indicator is discernible;

             k.      The default human language of each web page cannot be

             programmatically determined;

             l.      When a component receives focus, it may initiate a change in

             context;

             m.      Changing the setting of a user interface component may




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                 automatically cause a change of context where the user has not been advised

                 before using the component;

                 n.      Labels or instructions are not provided when content requires user

                 input, which include captcha prompts that require the user to verify that he

                 or she is not a robot;

                 o.      In content which is implemented by using markup languages,

                 elements do not have complete start and end tags, elements are not nested

                 according to the specifications, elements may contain duplicate attributes,

                 and/or any IDs are not unique;

                 p.      Inaccessible Portable Document Format (PDF); and,

                 q.      The name and role of all User Interface elements cannot be

                 programmatically determined; items that can be set by the user cannot be

                 programmatically set; and/or notification of changes to these items is not

                 available to user agents, including assistive technology.

         36.     Websites have features and content that are modified on a daily, and in some

  instances hourly basis and a one time “fix” to an inaccessible digital platform will not cause

  the digital platform to remain accessible without a corresponding in change in corporate

  policies related to those web-based technologies. To evaluate whether an inaccessible

  website has been rendered accessible, and whether corporate policies related to website

  technologies have been changed in a meaningful manner that will cause the website to

  remain accessible, the website must be reviewed on a periodic basis using both automated

  accessibility screening tools and end user testing by disabled individuals.

                                  STATEMENT OF FACTS




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          37.     Defendant is a company that owns and operates the Website, offering

   features which should allow all consumers to access the goods and services and by which

   Defendant ensures the delivery of such goods throughout the United States, including New

   York State.

          38.     Defendant’s Website offers products and services for online sale and

   general delivery to the public. The Website offers features which ought to allow users to

   browse for items, access navigation bar descriptions, inquire about pricing, and avail

   consumers of the ability to peruse the numerous items offered for sale.

          39.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

   computer without the assistance of screen-reading software. Plaintiff is, however, a

   proficient NVDA screen-reader user and uses it to access the Internet. Plaintiff has visited

   the Website multiples times, most recently on March 21, 2024, using a screen-reader.

          40.     Specifically, Plaintiff intended to purchase a chair (Maeve Chair).

          41.     Plaintiff wished to purchase this product because she was looking for a

   comfortable and modern chair made from high-quality materials, that would have a sturdy

   high back and would be a stylish addition to any room. Using the keywords in “Google,”

   she searched "home decor store near me" and discovered the Defendant`s website.

          42.     This Website holds themselves out as a leader in residential furniture

   production with a strong commitment to quality, craftsmanship, and integrity. Their

   collection includes upholstered recliners, sofas, stationary chairs, lift chairs, and sleeper

   sofas. The company has a wide reach, offering its furniture through retail outlets in the

   United States and Canada. Their offerings are expansive, catering to a range of customer




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   needs for comfort and design in home furnishings. Therefore, Plaintiff desired to buy

   products from the Website.

          43.     On March 21, 2024, Plaintiff visited Defendant’s website to purchase a

   chair (Maeve Chair). Despite Plaintiff’s efforts, however, Plaintiff was denied a shopping

   experience similar to that of a sighted individual due to the website’s lack of a variety of

   features and accommodations, which effectively barred Plaintiff from having an

   unimpeded shopping experience.

          44.     The Website contains access barriers that prevent free and full use by the

   Plaintiff using keyboards and screen-reading software. These barriers include but are not

   limited to: missing alt-text, hidden elements on web pages, incorrectly formatted lists,

   unannounced pop ups, unclear labels for interactive elements, and the requirement that

   some events be performed solely with a mouse.

          45.     The Website also contained a host of broken links, which is a hyperlink to

   a non-existent or empty webpage. For the visually impaired this is especially paralyzing

   due to the inability to navigate or otherwise determine where one is on the website once a

   broken link is encountered. For example, upon coming across a link of interest, Plaintiff

   was redirected to an error page. However, the screen-reader failed to communicate that the

   link was broken. As a result, Plaintiff could not get back to the original search.

          46.     These access barriers effectively denied Plaintiff the ability to use and enjoy

   Defendant’s website the same way sighted individuals do.

          47.     Plaintiff intends to visit the Website in the near future if it is made

   accessible.




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          48.     Defendant has denied Plaintiff, along with other blind or visually-impaired

   users, access to Defendant’s website, and to therefore specifically deny the goods and

   services that are offered to the general public. Due to Defendant’s failure and refusal to

   remove access barriers to the website, Plaintiff and visually-impaired persons have been

   and are still being denied equal access to Defendant’s Website, and the numerous goods

   and services and benefits offered to the public through the Website.

          49.     Due to the inaccessibility of Defendant’s Website, blind and visually-

   impaired customers such as Plaintiff, who need screen-readers, cannot fully and equally

   use or enjoy the facilities, products, and services Defendant offers to the public on the

   Website. The access barriers Plaintiff encountered have caused a denial of Plaintiff’s full

   and equal access in the past, and now deter Plaintiff on a regular basis from equal access

   to the Website.

          50.     If the Website were equally accessible to all, Plaintiff could independently

   navigate the Website and complete a desired transaction as sighted individuals do.

          51.     Through Plaintiff’s attempts to use the Website, Plaintiff has actual

   knowledge of the access barriers that make these services inaccessible and independently

   unusable by blind and visually-impaired people.

          52.     Because simple compliance with the WCAG 2.1 Guidelines would provide

   Plaintiff and other visually-impaired consumers with equal access to the Website, Plaintiff

   alleges that Defendant has engaged in acts of intentional discrimination, including but not

   limited to the following policies or practices:

                  a.      Constructing and maintaining a website that is inaccessible to

                  visually-impaired individuals, including Plaintiff;




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                     b.      Failure to construct and maintain a website that is sufficiently intuitive

                     so as to be equally accessible to visually impaired individuals, including

                     Plaintiff; and,

                     c.      Failing to take actions to correct these access barriers in the face of

                     substantial harm and discrimination to blind and visually-impaired

                     consumers, such as Plaintiff, as a member of a protected class.

             53.     Defendant therefore uses standards, criteria, or methods of administration that

   have the effect of discriminating or perpetuating the discrimination of others, as alleged

   herein.

             54.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in

   this action. In relevant part, the ADA requires:

             In the case of violations of . . . this title, injunctive relief shall include an order to
             alter facilities to make such facilities readily accessible to and usable by individuals
             with disabilities . . . [w]here appropriate, injunctive relief shall also include
             requiring the . . . modification of a policy . . .

   42 U.S.C. § 12188(a)(2).

             55.     Because Defendant’s Website has never been equally accessible, and

   because Defendant lacks a corporate policy that is reasonably calculated to cause the

   Website to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

   seeks a permanent injunction requiring Defendant to retain a qualified consultant

   acceptable to Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply with

   WCAG 2.1 guidelines for Defendant’s Website. Plaintiff seeks that this permanent

   injunction requires Defendant to cooperate with the Agreed Upon Consultant to:

                     a.      Train Defendant’s employees and agents who develop the Website

                     on accessibility compliance under the WCAG 2.1 guidelines;



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                  b.      Regularly check the accessibility of the Website under the WCAG

                  2.1 guidelines;

                  c.      Regularly test user accessibility by blind or vision-impaired persons

                  to ensure that Defendant’s Website complies under the WCAG 2.1

                  guidelines; and,

                  d.      Develop an accessibility policy that is clearly disclosed on Defendant’s

                  Websites, with contact information for users to report accessibility-related

                  problems.

          56.     Although Defendant may currently have centralized policies regarding

   maintaining and operating the Website, Defendant lacks a plan and policy reasonably

   calculated to make them fully and equally accessible to, and independently usable by, blind

   and other visually-impaired consumers.

          57.     Defendant has, upon information and belief, invested substantial sums in

   developing and maintaining the Website and has generated significant revenue from the

   Website. These amounts are far greater than the associated cost of making Defendant’s

   Website equally accessible to visually impaired customers.

          58.     Without injunctive relief, Plaintiff and other visually-impaired consumers

   will continue to be unable to independently use the Website.

                               CLASS ACTION ALLEGATIONS
          59.     Plaintiff, on behalf of herself and all others similarly situated, seeks to certify

   a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in

   the United States who have attempted to access Defendant’s Website and as a result have

   been denied access to the equal enjoyment of goods and services, during the relevant

   statutory period.


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          60.     Plaintiff, on behalf of herself and all others similarly situated, seeks to certify

   a New York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

   individuals in the City of New York who have attempted to access Defendant’s Website and

   as a result have been denied access to the equal enjoyment of goods and services offered,

   during the relevant statutory period.

          61.     Common questions of law and fact exist amongst the Class, including:

                  a.      Whether Defendant’s Website is a “public accommodation” under

                  the ADA;

                  b.      Whether Defendant’s Website is a “place or provider of public

                  accommodation” under the NYCHRL;

                  c.      Whether Defendant’s Website denies the full and equal enjoyment

                  of   the   products,     services,   facilities,   privileges,   advantages,   or

                  accommodations to people with visual disabilities, violating the ADA; and

                  d.      Whether Defendant’s Website denies the full and equal enjoyment

                  of   the   products,     services,   facilities,   privileges,   advantages,   or

                  accommodations to people with visual disabilities, violating the NYCHRL.

          62.     Plaintiff’s claims are typical of the Class. The Class, similarly to the

   Plaintiff, are severely visually impaired or otherwise blind, and claim that Defendant has

   violated the ADA or NYCHRL by failing to update or remove access barriers on the

   Website so either can be independently accessible to the Class.

          63.     Plaintiff will fairly and adequately represent and protect the interests of the

   Class Members because Plaintiff has retained and is represented by counsel competent and

   experienced in complex class action litigation, and because Plaintiff has no interests




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   antagonistic to the Class Members. Class certification of the claims is appropriate under

   Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally

   applicable to the Class, making appropriate both declaratory and injunctive relief with

   respect to Plaintiff and the Class as a whole.

          64.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

   because fact and legal questions common to Class Members predominate over questions

   affecting only individual Class Members, and because a class action is superior to other

   available methods for the fair and efficient adjudication of this litigation.

          65.     Judicial economy will be served by maintaining this lawsuit as a class action

   in that it is likely to avoid the burden that would be otherwise placed upon the judicial

   system by the filing of numerous similar suits by people with visual disabilities throughout

   the United States.

                             FIRST CAUSE OF ACTION
                    VIOLATIONS OF THE ADA, 42 U.S.C. § 12182 et seq.
          66.      Plaintiff, on behalf of herself and the Class Members, repeats and realleges

   every allegation of the preceding paragraphs as if fully set forth herein.

          67.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

          No individual shall be discriminated against on the basis of disability in the full and
          equal enjoyment of the goods, services, facilities, privileges, advantages, or
          accommodations of any place of public accommodation by any person who owns,
          leases (or leases to), or operates a place of public accommodation.

   42 U.S.C. § 12182(a).

          68.     Defendant’s Website is a public accommodation within the definition of

   Title III of the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

   general public, and as such, must be equally accessible to all potential consumers.




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          69.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

   discrimination to deny individuals with disabilities the opportunity to participate in or

   benefit from the products, services, facilities, privileges, advantages, or accommodations

   of an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

          70.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

   discrimination to deny individuals with disabilities an opportunity to participate in or

   benefit from the products, services, facilities, privileges, advantages, or accommodations,

   which is equal to the opportunities afforded to other individuals. 42 U.S.C. §

   12182(b)(1)(A)(ii).

          71.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

   also includes, among other things:

          [A] failure to make reasonable modifications in policies, practices, or procedures,
          when such modifications are necessary to afford such goods, services, facilities,
          privileges, advantages, or accommodations to individuals with disabilities, unless
          the entity can demonstrate that making such modifications would fundamentally
          alter the nature of such goods, services, facilities, privileges, advantages or
          accommodations; [and] a failure to take such steps as may be necessary to ensure
          that no individual with a disability is excluded, denied services, segregated or
          otherwise treated differently than other individuals because of the absence of
          auxiliary aids and services, unless the entity can demonstrate that taking such steps
          would fundamentally alter the nature of the good, service, facility, privilege,
          advantage, or accommodation being offered or would result in an undue burden.

   42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

          72.     The acts alleged herein constitute violations of Title III of the ADA, and the

   regulations promulgated thereunder. Plaintiff, who is a member of a protected class of

   persons under the ADA, has a physical disability that substantially limits the major life

   activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

   Plaintiff has been denied full and equal access to the Website, has not been provided




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   services that are provided to other patrons who are not disabled, and has been provided

   services that are inferior to the services provided to non-disabled persons. Defendant has

   failed to take any prompt and equitable steps to remedy the discriminatory conduct as the

   violations are ongoing.

          73.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

   and incorporated therein, Plaintiff, requests relief as set forth below.

                                SECOND CAUSE OF ACTION
                               VIOLATIONS OF THE NYCHRL
          74.     Plaintiff, on behalf of herself and the New York City Sub-Class Members,

   repeats and realleges every allegation of the preceding paragraphs as if fully set forth herein.

          75.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an

   unlawful discriminatory practice for any person who is the owner, franchisor, franchisee,

   lessor, lessee, proprietor, manager, superintendent, agent or employee of any place or

   provider of public accommodation: [b]ecause of any person’s . . . disability . . . directly or

   indirectly: [t]o refuse, withhold from or deny to such person the full and equal enjoyment,

   on equal terms and conditions, of any of the accommodations, advantages, services,

   facilities or privileges of the place or provider of public accommodation”.

          76.     Defendant’s Website is a sales establishment and public accommodations

   within the definition of N.Y.C. Admin. Code § 8-102(9).

          77.     Defendant is subject to NYCHRL because it owns and operates the Website,

   making it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).

          78.     Defendant is in violation of N.Y.C. Administrative Code § 8-107(4)(a) in

   refusing to update or remove access barriers to Website, causing the Website and the

   services integrated with such Website to be completely inaccessible to the blind. This



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   inaccessibility denies blind patrons full and equal access to the facilities, products, and

   services that Defendant makes available to the non-disabled public.

           79.     Defendant is required to “make reasonable accommodation to the needs of

   persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

   from discriminating on the basis of disability not to provide a reasonable accommodation

   to enable a person with a disability to satisfy the essential requisites of a job or enjoy the

   right or rights in question provided that the disability is known or should have been known

   by the covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

           80.     Defendant’s actions constitute willful intentional discrimination against the

   Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-

   107(4)(a) and § 8-107(15)(a) in that Defendant has:

                   a.      constructed and maintained a website that is inaccessible to blind

                   class members with knowledge of the discrimination; and/or

                   b.      constructed and maintained a website that is sufficiently intuitive

                   and/or obvious that is inaccessible to blind class members; and/or

                   c.      failed to take actions to correct these access barriers in the face of

                   substantial harm and discrimination to blind class members.

           81.     Defendant has failed to take any prompt and equitable steps to remedy the

   discriminatory conduct as these violations are ongoing.

           82.     As such, Defendant discriminates, and will continue in the future to

   discriminate against Plaintiff and members of the proposed class and subclass on the basis

   of disability in the full and equal enjoyment of the products, services, facilities, privileges,

   advantages, accommodations and/or opportunities of the Website under N.Y.C.




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   Administrative Code § 8-107(4)(a). Unless the Court enjoins Defendant from continuing

   to engage in these unlawful practices, Plaintiff and members of the class will continue to

   suffer irreparable harm.

          83.      Defendant’s actions were and are in violation of the NYCHRL and therefore

   Plaintiff invokes the right to injunctive relief to remedy the discrimination.

          84.      Plaintiff is also entitled to compensatory damages, as well as civil penalties

   and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as

   well as punitive damages pursuant to § 8-502.

          85.      Plaintiff is also entitled to reasonable attorneys’ fees and costs.

          86.      Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

   procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set

   forth below.

                                  THIRD CAUSE OF ACTION
                                   DECLARATORY RELIEF
          87.      Plaintiff, on behalf of herself and the Class and New York City Sub-Classes

   Members, repeats and realleges every allegation of the preceding paragraphs as if fully set

   forth herein.

          88.      An actual controversy has arisen and now exists between the parties in that

   Plaintiff contends, and is informed and believes that Defendant denies, that the Website

   contains access barriers denying blind customers the full and equal access to the products,

   services and facilities of the Website, which Defendant owns, operates and controls, fails

   to comply with applicable laws including, but not limited to, Title III of the Americans

   with Disabilities Act, 42 U.S.C. §§ 12182, et seq., and N.Y.C. Admin. Code § 8-107, et

   seq. prohibiting discrimination against the blind.



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          89.     A judicial declaration is necessary and appropriate at this time in order that

   each of the parties may know its respective rights and duties and act accordingly.

                                    PRAYER FOR RELIEF
          WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

                  a.     A preliminary and permanent injunction to prohibit Defendant from

                  violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

                  N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

                  b.     A preliminary and permanent injunction requiring Defendant to take

                  all the steps necessary to make the Website fully compliant with the

                  requirements set forth in the ADA, and the implementing regulations, so

                  that the Website is readily accessible to and usable by blind individuals;

                  c.     A declaration that Defendant owns, maintains and/or operates the

                  Website in a manner that discriminates against the blind and which fails to

                  provide access for persons with disabilities as required by Americans with

                  Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C. Administrative Code

                  § 8-107, et seq., and the laws of New York

                  d.     An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

                  23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative,

                  and Plaintiff’s attorneys as Class Counsel;

                  e.     Compensatory damages in an amount to be determined by proof,

                  including all applicable statutory and punitive damages and fines, to

                  Plaintiff and the proposed class and subclasses for violations of civil rights

                  under New York City Human Rights Law and City Law;

                  f.     Pre- and post-judgment interest;


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                   g.      An award of costs and expenses of this action together with

                   reasonable attorneys’ and expert fees; and

                   h.      Such other and further relief as this Court deems just and proper.

                                DEMAND FOR TRIAL BY JURY
            Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

   of fact the Complaint raises.

   Dated:      Hackensack, New Jersey
               March 29, 2024
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